Case 1:20-cv-00485-EK-CLP                Document 297              Filed 05/23/25   Page 1 of 2 PageID #:
                                                 3408



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK

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                                                               :
SARAH EDMONDSON, et al.,                                       :
                                                               :
                           Plaintiffs,                         :
                                                               :    No.: 1:20-cv-00485-(ERK)(SMG)
         v.                                                    :
                                                               :
KEITH RANIERE, et. al.                                         :
                                                               :
                           Defendants.                         :
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                                  WITHDRAWAL OF APPEARANCE


        Please withdraw the appearance of Elias A. Kohn, of the law firm of Kohn, Swift & Graf,

P.C. as counsel for Plaintiffs in the above captioned matter.

        Plaintiffs will continue to be represented by William Hoese and Zahra Dean of Kohn,

Swift & Graf P.C. and Emma Bruder and Adam M. Prom of DiCello Levitt LLP.


Dated: May 23, 2025                                           Respectfully submitted,

                                                              /s/ Elias A. Kohn
                                                              Elias A. Kohn
                                                              Kohn, Swift & Graf, P.C.
                                                              1600 Market Street, Suite 2500
                                                              Philadelphia, PA 19103
                                                              Telephone: 215-238-1700
                                                              ekohn@kohnswift.com

                                                              Attorney for Plaintiffs
Case 1:20-cv-00485-EK-CLP                Document 297              Filed 05/23/25   Page 2 of 2 PageID #:
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SARAH EDMONDSON, et al.,                                       :
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         v.                                                    :
                                                               :
KEITH RANIERE, et. al.                                         :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------x


                                      CERTIFICATE OF SERVICE

        I, Elias A. Kohn hereby certify that on May 23, 2025, the foregoing Withdrawal of

Appearance has been served to all Plaintiffs via email and counsel of record for all Defendants

who have appeared via ECF.


Dated: May 23, 2025                                           /s/ Elias A. Kohn
                                                              Elias A. Kohn
                                                              KOHN, SWIFT & GRAF, P.C.
                                                              1600 Market Street, Suite 2500
                                                              Philadelphia, PA 19103
                                                              Telephone: 215-238-1700
                                                              ekohn@@kohnswift.com

                                                              Attorney for Plaintiffs
